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                                                                 March 8, 2021
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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                               Case No. 8:20-cv-01373-SB (DFMx)
11    Nehemiah Kong,
12                                               JUDGMENT
                                Plaintiff,
13
14    v.
15    Biopharma Research Organization
16    LP; and
      Project Rehabilitation LLC,
17
18                              Defendants.
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21         Following the Court’s ruling on March 8, 2021, the Court grants JUDGMENT
22   in favor of Plaintiff NEHEMIAH KONG and against Defendants BIOPHARMA
23   RESEARCH ORGANIZATION LP and PROJECT REHABILITATION LLC.
24   Defendants shall pay a statutory award of $4,000, $860 in costs, and $2,244.15 in
25   attorney’s fees to Plaintiff and shall be jointly and severally liable for such payment.
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 1         Additionally, Defendants are ordered to provide a wheelchair accessible
 2   parking stall and entrance path in compliance with the ADA and ADA guidelines, to
 3   the extent that the removal of these barriers is readily achievable under the ADA
 4   standards, at the Design Center located at 2321 W. Whittier Blvd., La Habra,
 5   California.
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 7   Dated: March 8, 2021            By:     __________________________________
 8                                                STANLEY BLUMENFELD, JR.
                                                UNITED STATES DISTRICT JUDGE
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